         Case 3:19-cv-00114-BAJ-RLB           Document 33      10/16/19 Page 1 of 1



                           UNITED STATES DISTRICT COURT

                           MIDDLE DISTRICT OF LOUISIANA

ESROM DEMEKE                                                       CIVIL ACTION

VERSUS                                                             NO. 19-114-BAJ-RLB

BOARD OF SUPERVISORS OF
LOUISIANA STATE UNIVERSITY
AND A&M COLLEGE, ET AL.

                                            ORDER

       This matter is before the court on an Order (R. Doc. 29) setting a telephone conference

for October 18, 2019 at 9:00 a.m. On August 19, 2019, two Motions to Dismiss (R. Docs. 30

and 31) were filed.

       Because the Motions to Dismiss have been filed, the telephone conference set for October

18, 2019 is CANCELLED. Upon a resolution of the Motions to Dismiss, counsel for the

defendants shall contact the undersigned should a conference need to be reset.

       Signed in Baton Rouge, Louisiana, on October 16, 2019.



                                            S
                                            RICHARD L. BOURGEOIS, JR.
                                            UNITED STATES MAGISTRATE JUDGE
